Case 1:17-cr-00101-LEK Document 772 Filed 01/15/20 Page 1 of 8   PageID #: 6599




KENJI M. PRICE #10523
United States Attorney
District of Hawaii

KENNETH M. SORENSON
GREGG PARIS YATES #8225
Assistant United States Attorney
Room 6-100, PJKK Federal Building
300 Ala Moana Boulevard
Honolulu, Hawaii 96850
Telephone: (808) 541-2850
E-Mail:     Ken.Sorenson@usdoj.gov
            Gregg.Yates@usdoj.gov

Attorneys for Plaintiff
UNITED STATES OF AMERICA

                   IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,            )   CR. NO. 17-00101 LEK
                                     )
          Plaintiff,                 )   GOVERNMENT’S MOTION IN LIMINE
                                     )   TO EXCLUDE EVIDENCE OF
    vs.                              )   DISCOVERY DISPUTES, ALLEGED
                                     )   SEARCH WARRANT DEFECTS, AND
ANTHONY T. WILLIAMS, (1)             )   FALSE CLAIMS OF SELECTIVE OR
ANABEL CABEBE        (2)             )   VINDICTIVE PROSECUTION;
                                     )   CERTIFICATE OF SERVICE
          Defendants.                )
                                     )

                GOVERNMENT’S MOTION IN LIMINE TO
             EXCLUDE EVIDENCE OF DISCOVERY DISPUTES,
           ALLEGED SEARCH WARRANT DEFECTS, AND FALSE
          CLAIMS OF SELECTIVE OR VINDICTIVE PROSECUTION
Case 1:17-cr-00101-LEK Document 772 Filed 01/15/20 Page 2 of 8          PageID #: 6600




      The government respectfully submits this Motion in Limine to exclude from

trial: (1) evidence of pretrial discovery disputes or alleged defects in search

warrants; and (2) arguments and/or claims of selective or vindictive prosecution.

These categories of information are non-relevant to the jury’s determination of the

defendant’s guilt or innocence, and carry a significant risk of confusion of the

issues and undue prejudice to the government that outweighs any nonexistent

probative value.

      Moreover, as detailed below, the government gives notice of its intent to

object to any attempt by the defendant to introduce into evidence or argue various

forms of alleged government investigative or pretrial misconduct, or court bias.

                                    ARGUMENT

I.    Legal Standard

        “To the extent practicable, the court must conduct a jury trial so that

inadmissible evidence is not suggested to the jury by any means.” Federal Rule of

Evidence (Fed. R. Evid.) Rule 103(d). Although the defendant is allowed to

present his theory of defense to the jury, “some relevant factual basis for the

defense should exist under Federal Rules of Evidence 401 and 402 before evidence

or testimony is offered.” United States v. Thompson, 25 F.3d 1558, 1564 (11th

Cir. 1994); see also United States v. Wiman, 77 F.3d 981, 985 (7th Cir. 1995)

(defense must be supported by law and have some foundation in the evidence).


                                           2
Case 1:17-cr-00101-LEK Document 772 Filed 01/15/20 Page 3 of 8          PageID #: 6601




        Irrelevant evidence is not admissible at trial. Rule 402. A defendant has

no right to present witnesses or cross-examine adverse witnesses about facts that

are not of consequence to the determination of the case. Wiman, 77 F.3d at 985.

        Moreover, relevant evidence may be excluded at trial if “its probative

value is substantially outweighed by a danger of . . . confusing the issues [or]

misleading the jury.” Rule 403. Accordingly, evidence or arguments that only

“relate[] to an issue of law entirely independent of the ultimate issue of whether the

defendant actually committed the crimes for which [he is] charged” are questions

of law for the Court, and should be excluded from the jury. United States v.

Washington, 705 F.2d 489, 495 (D.C. Cir. 1983). See, e.g., United States v. Wylie,

625 F.2d 1371, 1379 (9th Cir. 1980); United States v. Farrar, 338 F.Supp.3d 1186,

1190-91 (D. Hawaii 2018).

        In addition, evidence that serves only to provoke the jury to disregard the

law, and any argument of jury nullification, should be excluded. See, e.g., United

States v. Sloan, 704 F. Supp. 880, 884 (N.D. Ind.1989) (jury nullification properly

considered on motion in limine); United States v. Lucero, 895 F. Supp. 1421, 1426

(D. Kan. 1995).

II.   Evidence Relating To Pretrial Discovery and Defects In Search Warrants

      The Court should exclude from trial any evidence or argument pertaining to

pretrial discovery or to alleged defects in search warrants that pertain to the


                                           3
Case 1:17-cr-00101-LEK Document 772 Filed 01/15/20 Page 4 of 8         PageID #: 6602




suppression of evidence. Rule 12(b)(3)(C) and (E) reserves these matters for the

Court to decide as a matter of law, before trial. See Rule 12(b)(3) (“The following

defenses, objections, and requests must be raised by pretrial motion. . . suppression

of evidence; discovery under Rule 16.”). Because issues pertinent only to the

suppression of evidence or discovery are questions of law solely for the Court, they

are not relevant to a factual determination that must be made by the jury.

Permitting evidence of these irrelevant issues would serve only to confuse the

issues and mislead the jury. 1

III.   Evidence of Selective Or Vindictive Prosecution Should Be Excluded

       The Court should also exclude from trial any allegation or argument

pertaining to selective or vindictive prosecution, which are questions of law for the

Court before trial and not for the jury.

       The government retains broad discretion in its prosecution decisions to

enforce the Nation’s criminal laws. Wayte v. United States, 470 U.S. 598, 607

(1985). As a result, “[i]n the ordinary case, so long as the prosecutor has probable

cause to believe that the accused committed an offense defined by statute, the


1
   In any event, we note that the sufficiency of the searches and warrants supporting
this investigation were fully litigated and decided. Order Denying Defendant’s
Motion for Suppression of Evidence, ECF No. 533. Moreover, the defendant has
filed and sought to litigate no fewer than twenty-five discovery motions. ECF Nos.
15, 39, 65, 146, 173, 174, 196, 239, 265, 272, 349, 350, 357, 361, 363, 435, 436,
459, 460, 488, 497, 555, 614, 644, and 736.

                                           4
Case 1:17-cr-00101-LEK Document 772 Filed 01/15/20 Page 5 of 8            PageID #: 6603




decision whether or not to prosecute, and what charge to file or bring before a

grand jury, generally rests entirely in his discretion.” United States v. Armstrong,

517 U.S. 456, 464 (1996). A prosecutor’s discretion is nonetheless subject to

constitutional constraints that may be challenged in a motion before trial. Id.

       Fed. R. Crim. Proc. Rule 12(b)(3)(A)(iv) makes clear that a motion

regarding “a defect in instituting the prosecution, including . . . selective or

vindictive prosecution” “must be raised by pretrial motion.” The Supreme Court

has further explained that challenges to alleged improper conduct by the

government in instituting a prosecution are “not a defense on the merits of the

criminal charge itself, but an independent assertion that the prosecutor has brought

the charge for reasons forbidden by the Constitution. Armstrong, 517 U.S. at 463.

As the challenges are “not a defense on the merits of the criminal charge itself,”

the challenges may not be raised to the jury.” United States v. Mausali, 590 F.3d

1077, 1080 (9th Cir. 2010) (explaining that defects in the institution of the

prosecution itself are questions of law for the court that are to be decided before

the trial).

IV.    Evidence or Argument Of Misconduct Or Court Bias Should Be Excluded

       Finally, the government notifies the Court of the likelihood of related,

irrelevant accusations that the defendant may make during trial, and the

government’s intent to object to these issues. In 113 motions and other filings to


                                           5
Case 1:17-cr-00101-LEK Document 772 Filed 01/15/20 Page 6 of 8           PageID #: 6604




the Court, the defendant persistently alleged government misconduct, by the

prosecution team, the investigative agency, and the Bureau of Prisons, in keeping

the defendant in pretrial detention. Pursuant to Rules 401 and 403 of the Federal

Rules of Evidence, all these arguments should be precluded at trial as irrelevant,

unduly prejudicial, and improperly appealing to the jury for jury nullification.

      Examples of the accusations leveled against the government, which are

irrelevant to a jury’s determination of the defendant’s guilt or innocence are too

numerous to exhaustively list here. However, in addition to the categories

described earlier in this motion, the defendant has accused the government of:

         • unlawfully arresting the defendant; ECF No. 437-2 at 3.

         • unlawfully searching and/or seizing the defendant’s property; ECF

              No. 437-2 at 11-13.

          • purposefully delaying the prosecution of this case and committing

              Speedy Trial Act and other procedural violations; ECF No. 133; ECF

              No. 268-2 at ¶ 4; ECF No. 294-3 at 2-3.

          •   violating his rights while he is in pretrial detention, by for instance,

              interfering with his ability to prepare for trial. ECF Nos. 65, 83, 87,

              117, 167, 195, 287, 307, 375, 418, 433, 479, 598, 687.

Relatedly, the defendant has several times alleged bias by the District Judge and

Magistrate Judges of this Court. ECF Nos. 147, 241, 742.

                                           6
Case 1:17-cr-00101-LEK Document 772 Filed 01/15/20 Page 7 of 8          PageID #: 6605




      None of these pretrial complaints bears any relevance to defendant’s guilt or

innocence. Moreover, these complaints are unsubstantiated, false, unduly

prejudicial, and would only serve to confuse the issues presented to the jury. Fed.

R. Evid. 403. In light of the defendant’s previous, persistent accusations of

government misconduct, the government respectfully submits to the Court that the

defendant is likely to raise these arguments again, even though they are improper

and impermissible. The government intends to object at trial to any defendant

claim of pretrial misconduct, whether during voir dire, opening statements, witness

examinations—including the defendant’s own testimony, should he choose to

testify, and during closing arguments.

                                  CONCLUSION

      The government respectfully requests that the Court grant this Motion.

                   DATED: January 15, 2020, at Honolulu, Hawaii.


                                               KENJI M. PRICE
                                               United States Attorney
                                               District of Hawaii


                                               By /s/ Gregg Paris Yates
                                                 GREGG PARIS YATES
                                                 Assistant U.S. Attorney




                                          7
Case 1:17-cr-00101-LEK Document 772 Filed 01/15/20 Page 8 of 8        PageID #: 6606




                          CERTIFICATE OF SERVICE

             I hereby certify that, on the dates and by the methods of service noted

below, a true and correct copy of the foregoing was served on the following by the

method indicated on the date of filing:

Served Electronically through CM/ECF:

      Lars Isaacson, Esq.
      hawaii.defender@earthlink.net

      Attorney for Defendant
      ANTHONY T. WILLIAMS

      Michael Jay Green, Esq.
      michaeljgreen@hawaii.rr.com

      Attorney for Defendant
      ANABEL CABEBE

Defendant to be served by First Class Mail on or by January 15, 2020:

      Anthony T. Williams
      Register No. 05963-122
      Inmate Mail
      FDC Honolulu
      PO Box 30080
      Honolulu, HI 96820

             DATED: January15, 2020, at Honolulu, Hawaii.


                                             /s/ Melena Malunao
                                             U.S. Attorney’s Office
                                             District of Hawaii
